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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA


United States of America


v.
                                             Case No. 1:24-cr-00265-TNM

Robert P. Burke, Yongchul “Charlie” Kim,
and Meghan Messenger,

              Defendants.



                  MEMORANDUM OF LAW IN SUPPORT OF
     DEFENDANTS YONGCHUL “CHARLIE” KIM’S AND MEGHAN MESSENGER’S
                    JOINT MOTION TO SEVER TRIAL
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                                       Preliminary Statement

           Defendants Yongchul “Charlie” Kim and Meghan Messenger (together, “Movants”)

respectfully submit this memorandum in support of their joint motion for severance. For the

reasons detailed below, Movants jointly request a separate trial from co-Defendant Robert Burke.

           On May 31, 2024, this Court unsealed a five-count indictment. Count One charges all three

Defendants with conspiracy to commit bribery, in violation of 18 U.S.C. § 371. Count Two

charges only Movants with bribery, in violation of 18 U.S.C. § 201(b)(1). Counts Three, Four,

and Five charge only Burke with bribery, in violation of 18 U.S.C. § 201(b)(2), acts affecting a

personal financial interest, in violation of 18 U.S.C. § 208(a), and concealment of material facts,

in violation of 18 U.S.C. § 1001(a)(1), respectively. Severance is warranted here because Movants

would be unfairly prejudiced at a joint trial of all three Defendants by evidence offered against

Burke in support of counts in which Movants are not charged, and because Movants’ defense and

Burke’s anticipated defense are mutually exclusive of each other. In sum, and consistent with the

government’s anticipated evidence in support of Counts Three, Four, and Five against Burke,

Movants intend to offer evidence at trial that, in an effort to influence contracts between Company

A and the Navy, Burke may have deliberately and repeatedly misled Movants to believe that he

could lawfully engage in employment discussions with Movants while he was still a Navy senior

officer.




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                                         Background

A.     Company A’s Early Work With The Navy And Subsequent Business Proposal

       Movants are co-CEOs of Company A, a privately-held company that operates, among other

things, an employee benefits platform and offers executive leadership training.1 Ex. A (November

1, 2019 Executive Summary) at 4; Indictment ¶¶ 2, 3. In early 2018, Company A entered into a

$2 million contract with the Navy (the “First Navy Contract”). In late 2018, Company A entered

into a subsequent $10 million contract with the Navy to train part of the Navy workforce (the

“Second Navy Contract”). Indictment ¶ 11; Ex. B (

                         ) at 2. Burke, who at the time was a four-star U.S. Navy Admiral, was

Company A’s main Navy contact. Indictment ¶¶ 1, 28-34.

       Approximately one year into the contract, Kim reached out to Burke by email to explore

other ways Company A could help the Navy train its staff. Ex. C (September 2019 email exchange

between R. Burke, Movants, and B. Mietus) at 1. Kim also offered to connect with Burke to

discuss in greater detail how Company A would implement the proposed training strategies. Id.

at 1, 4. This was Company A’s second attempt at a larger “all Navy” engagement which had

previously been supported by former Navy CNO Bill Moran.

       Burke responded to Kim’s email the next day. Id. at 1. Burke explained that he had

recently met with the Navy’s newly-appointed Chief of Naval Operations (“CNO”)—the highest-

ranking Naval officer—and that, consistent with Kim’s suggestion, the “best option” for Company

A to secure business with the Navy was for Movants to come to Washington, D.C. and meet with

the CNO in person. Id. Burke offered to “lock in” the CNO for at least a few hours for this




       1To provide the Court a more complete picture of the relevant events, this memorandum
supplements the Indictment using relevant documents collected from Company A’s records.


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discussion. Id. By the end of September 2019, the CNO had scheduled a meeting with Movants.

Ex. D (September 2019 email exchange between D. Platz, Movants, and others) at 1.

       Prior to the meeting, Kim informed Company A’s investors that, “[w]ith the help of” Burke,

Company A had secured a meeting with the CNO. Ex. II (October 2019 email exchange between

Movants and others) at 1. Kim told the investors that he had “prepar[ed] a proposal” to upgrade

Company A’s partnership with the Navy from a “limited pilot/test to a full Navy program,” id.,

and that Company A’s goal was “to secure a minimum $50MM annual contract.” Id. He explained

that Company A was also preparing a larger $100 million proposal, noting that Burke had told

Movants he “believe[d] [that the CNO] w[ould] be a fan.” Id. Despite Burke’s optimism, Kim

was unsure if the CNO would sign off on the larger, $100 million proposal. Id.

       A scheduling issue arose, and Movants were ultimately unable to meet with the CNO. Ex.

E (October 2019 email exchange between R. Burke, Movants, and others) at 3. Instead, Movants

met with Burke in late October 2019, and discussed broader, “all Navy” services Company A could

provide. Id. at 1,3; Ex. F (October 2019 email exchange between R. Burke and Movants) at 1. In

a follow-up email to Burke, Kim specifically discussed Company A’s $100 million proposal,

emphasizing Company A’s unrivaled ability to “develop[] people faster than anyone” which would

provide the Navy with a “new competitive advantage” and effectively “upgrade” the Navy. Ex. F

at 1 (emphasis omitted). Movants offered to draft an executive summary to aid Burke’s discussions

about the proposal with the CNO. Id. Burke agreed that a summary would be useful and agreed

to speak with the CNO. Id.; Ex. G (November 2019 email exchange between R. Burke and

Movants) at 1. Burke later followed up that he had been unable to talk to the CNO about the

proposal, but he thought the summary that Movants provided was “excellent” and agreed to push

the project “aggressively.” Ex. H (November 2019 email exchange between R. Burke and




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Movants) at 1; see also Ex. I (November 1, 2019 email from C. Kim to R. Burke and M.

Messenger); see generally Ex. A.

       A few days later, at a Navy offsite training facility, Burke notified Kim and Messenger in

person that the CNO had approved Company A’s proposal, explaining that he had received “the

go ahead to move out on [Company A],” Ex. J (November 2019 email exchange between Movants

and others) at 1,—a fact omitted entirely from the Indictment. All of these events—the First Navy

Contract, the Second Navy Contract, Burke’s early advocacy around the potential $100 million

contract, and Burke’s communication to Movants about the CNO’s approval—occurred before any

of the allegedly improper job discussions at the heart of the Indictment.

B.     Company A Follows Up On Its Proposal And First Learns That Burke Must
       Assume A Limited Role Moving Forward

       The following day, Kim emailed Burke to express his excitement about the “CNO’s

backing” and Movants’ desire to meet with Burke to walk through Company A’s approach. Ex.

K (November 2019 email exchange between R. Burke, Movants, and others) at 1. Without

elaborating, Burke’s aide subsequently notified a Company A staff member that “it [wa]s best that

[Company A] and [Burke] not have contact at this time” due to Burke’s role in securing approval

for Company A’s proposal. Ex. L (November 2019 email exchange between R. Burke, Movants,

and others) at 1. Company A’s staff member forwarded this message to Movants. Id. At no prior

point had Movants, or anyone at Company A to Movants’ knowledge, been told of such a

restriction. Movants confirmed to Burke that they would “stand by until” they heard from him.

Id.

       The following week, Burke’s office notified Movants that Burke had been replaced as their

point of contact.             —a high-ranking Department of Defense (“DOD”) official—would

be Company A’s point of contact regarding its “way-forward” with the Navy on the $100 million



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proposal. Ex. M (November 12, 2019 email from B. Mietus to D. Platz, Movants, and others) at

1. While            was to be Company’s A’s direct contact, Burke’s office told Movants that

and Burke would nevertheless meet the following week “to synchronize on the way forward.” Id.

        Kim contacted             two days later and, after their conversation, told her that he would

send her information to facilitate her discussion with Burke. Ex N (November 2019 email

exchange between               , C. Kim, and others) at 1. Kim also told           that the Navy was

delinquent on Company A’s “existing contract” (i.e., the 2018 $10 million contract) and requested

            help to secure payment. Id. at 1-2. Later that day,       told Kim to expect a “slow[] . . .

down momentarily,” but assured him he could expect “a good investment for a long term gain.”

Id. at 1.

C.      Movants Follow Up On The $100 Million Navy Contract

        Months passed without Movants hearing from the Navy about the new contract. Ex. O

(June 2020 email exchange between J. Nowell, Movants, and others) at 1. In June 2020, Kim

contacted the Chief of Naval Personnel (“CNP”), seeking an update. Id. Kim also acknowledged

that Movants had been told not to speak with Burke while Company A was “in the ‘contracting

actions phase.’” Id. The CNP replied that he understood Kim’s concern but was unable to provide

an update, instead referring Kim “to the Contracting Office.” Id.

        After three more months passed without movement, and recalling that Burke had told

Movants the contract had been approved by the CNO in November 2019, Kim emailed Burke

directly. Ex. P (September 2020 email exchange between R. Burke and Movants) at 1. Kim

explained that Movants had not heard from the Contracting Office and wanted to know if Burke

had “any insights or guidance o[n] how best to proceed.” Id. at 2. The same day, Burke told

Movants that he did not have any insights but would look into the contract and follow up “in a few

days.” Id. at 1.


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       Burke and Movants spoke again later in April 2021 and in May 2021. Ex. V (April 2021

email exchange between R. Burke and Movants) at 1; Indictment ¶ 31. During their May 2021

conversation, and consistent with Burke’s prior statements about acting as Company A’s

ambassador, Burke informed Movants that he was seeking funding for the proposed contract.

Indictment ¶ 32.

E.     July 2021: Movants Meet Again With Senior Navy Personnel About The Contract

       In July 2021, Burke and Movants met for lunch in Washington, D.C. Ex. W (July 2021

email exchange between R. Burke, C. Kim, and others) at 1; Ex. X (July 2021 email exchange

between C. Kim and others) at 1. Burke was joined by a woman he described to Movants as a

senior official in the Office of the Under Secretary of the Navy. See Ex. X at 1. While the

Indictment acknowledges that the woman was “a civilian employee in the Navy,” it also describes

her as Burke’s “companion.” Indictment ¶ 9. Critically, this latter point—that the female Naval

official at the lunch meeting was Burke’s “companion”—was entirely unknown at the time to

Movants. Indeed, Movants had no reason to believe the senior Naval official was also Burke’s

“companion” because they knew that Burke was married to a different woman.

       Kim emailed Company A personnel a recap of the lunch meeting the same day, explaining

that Burke’s command would be the first to receive Company A’s services under the new contract.

Ex. X at 1. Those services would begin as soon as possible and, if successful, Burke indicated that

he could persuade the CNO to approve a larger contract with Company A. Id.

       Kim also told Company A personnel that they had discussed at the lunch meeting Burke

potentially joining Company A in the summer of the following year. Id. Kim explained that they

discussed “salary” and “equity” and noted that, while Burke indicated that he wanted to resign

from the Navy “next week,” Movants preferred that he stay with the Navy as he would continue

to help them navigate the contract process. Id. The senior Naval official who, unbeknownst to


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Movants, was also Burke’s “companion” actively participated in this discussion about the terms

of Burke’s potential future employment with Company A.

       Several days later,

Ex. Y (                                                                     ) at 1.




                                                                                                   Id.



          Id.

                    Id.



                                                                Id.

       Notably, Movants provided to over 70 sophisticated Company A investors detailed

information about their employment discussions with Burke while explaining to them that Burke

was in a position to send a contract to Company A. These contemporaneous communications are

wholly inconsistent with allegations that the Movants acted corruptly, as evidenced by the fact that

the government does not allege that a single Company A investor is a co-conspirator or involved

in any way in the alleged bribery scheme. Moreover, Movants had these purportedly corrupt

discussions with Burke in the presence of senior DOD officials—                 , present at the April

8, 2021 meeting, and the senior Naval official (who, unknown to Movants, was also Burke’s

“companion”), present at the July 21, 2021 lunch—who are not alleged to be co-conspirators or

involved in the scheme at all. Movants will argue at trial that this and other evidence is compelling




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proof that they lacked the requisite intent to commit the offenses they are charged with in the

Indictment.

F.     Company A And Burke Continue Employment Discussions

       Company A eventually obtained a $355,000 contract to train Navy personnel, which was

performed in January 2022. Indictment ¶¶ 38, 41-44.

       In May 2022, Burke told Movants that he had received the Navy’s approval to begin in

earnest discussions about joining Company A after his retirement from the Navy. Ex. Z (May 13,

2022 email from R. Burke to Movants and B. Burke) at 2. To that end, Burke sent Movants: (1) a

disqualification letter that he “was required to submit before talking to [Movants] on this, which

says [that he] will not [be] involve[d] . . . with decisions for new or existing contracts with

[Company A] while still in this job and having conversations with [Company A;]” and (2) an ethics

advice letter, which reflected that he “was personally involved in two Navy contracting actions

with” Company A. Id.; see Ex. AA (May 9, 2022 Disqualification Statement) at 1; Ex. BB (May

13, 2022 Memorandum from Force Judge Advocate to R. Burke) at 2-4; see generally Ex. CC

(April 29, 2022 Memorandum from Force Judge Advocate to R. Burke) at 1. A week and a half

later, in late May 2022, Company A extended Burke an official employment offer with a $500,000

base salary—more than the entire $355,000 contract Burke allegedly helped to secure. See Ex.

DD (May 24, 2022 letter from Company A to R. Burke) at 1.

       By summer 2022 and prior to his joining Company A, Burke informed Movants that his

involvement in the $355,000 contract was under scrutiny by federal investigators.          Burke

subsequently asked Movants if they intended to rescind his employment offer. They declined,

explaining that they wanted Burke for his qualities as a leader. See Ex. EE (September 2022 email

exchange between Movants and R. Burke) (“[W]e hired you because you are a badass.”).




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        Months before Burke’s start date, Movants informed investors (more than 70 people, none

of whom the government alleges is a co-conspirator) and Company A’s employees (who are

likewise not alleged to be co-conspirators) that Burke was under investigation regarding the

contract. Ex. FF (July 2022 email exchange between C. Kim, M. Messenger, and others) at 1.

Regardless, Movants assured their investors that Burke would be brought on, emphasizing his

experience and network. Id. As is true of their prior communications in 2021 to investors and

employees regarding discussions with Burke about potential employment, this is further evidence

that Movants had no reason to believe that either their employment offer or the preceding

discussions were improper in light of Burke’s express assurances to them.

        Burke started at Company A in October 2022. Indictment ¶ 47. In January 2023, however,

Burke resigned, citing “an unexpected recurrence of a previous medical condition [Burke] had

thought to have been in remission.” Ex. GG (January 2023 email exchange between C. Kim, R.

Burke, and others) at 2. With Burke’s permission, Kim informed Company A personnel of Burke’s

departure, detailing Burke’s continued support of the company. Id. at 1. Burke’s counsel later

stated publicly that Burke “partly left the organization due to ‘personality conflicts.’” Ex. HH

(June 1, 2024 CNBC Article) at 3.

        On May 30, 2024, the Indictment was filed in this case. ECF 1. It was unsealed the next

day.

                                           Legal Standard

        Under Federal Rule of Criminal Procedure 14(a), “[i]f the joinder of . . . defendants in an

indictment . . . appears to prejudice a defendant[,] . . . the court may order separate trials of counts,

sever the defendants’ trials, or provide any other relief that justice requires.” In the D.C. Circuit,

“three kinds of prejudice warrant relief under Rule 14: (1) the jury may cumulate evidence of the

separate crimes; (2) the jury may improperly infer a criminal disposition and treat the inference as


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evidence of guilt; (3) the defendant may become ‘embarrassed or confounded’ in presenting

different defenses to the different charges.’” United States v. Gooch, 665 F.3d 1318, 1336 (D.C.

Cir. 2012) (quoting Blunt v. United States, 404 F.2d 1283, 1288 (D.C. Cir. 1968)); see also United

States v. McCaughey, 605 F. Supp. 3d 84, 88 (D.D.C. 2022) (“Prejudice arises where there is ‘a

serious risk that a joint trial [will] compromise a specific trial right of one of the defendants, or

prevent the jury from making a reliable judgment about guilt or innocence.’” (quoting Zafiro v.

United States, 506 U.S. 534, 539 (1993))).

       Although “[j]oinder of conspiracy charges and defendants is preferred in this Circuit and

in other Circuits,” courts nevertheless “ha[ve] a continuing duty to monitor the appropriateness of

joinder of counts and defendants.” United States v. Edelin, 118 F. Supp. 2d 36, 40 (D.D.C. 2000)

(citing Schaffer v. United States, 362 U.S. 511, 516 (1960)). Because this duty requires courts to

“continue to be vigilant for prejudice arising under Rule 14 of the Federal Rules of Criminal

Procedure,” id, “[j]oinder will not . . . always be proper.” United States v. Gray, 173 F. Supp. 2d

1, 6 (D.D.C. 2001). Ultimately, “Federal Rule of Criminal Procedure 14 leaves the determination

of risk of prejudice and any remedy that may be necessary to the sound discretion of the district

court[].” United States v. Slatten, 865 F.3d 767, 810 (D.C. Cir. 2017) (quoting Zafiro, 506 U.S. at

541) (internal quotation marks omitted).

                                             Argument

       The Court should sever Burke’s trial from Movants’ trial because there is a serious risk

that a joint trial of all three Defendants would prejudice Movants in violation of Rule 14(a) for two

reasons. First, evidence that speaks to Burke’s alleged commission of the crimes charged in

Counts Three, Four, and Five will unduly prejudice Movants, who have not been charged with

those crimes. Second, Burke’s and Movants’ respective anticipated defenses are likely in direct

and irreconcilable conflict. Movants will present evidence that, as early as April 2021 and months


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prior to engaging in any meaningful employment discussions with him, Burke made—and they

reasonably relied on—representations to them in the presence of another DOD official that he

could lawfully act as an “ambassador” for Company A and engage in employment discussions

even while in a position to influence the award of a contract to Company A. Burke, on the other

hand, will likely argue that, consistent with his written representations to the Navy that are the

basis of certain charges against him in the Indictment, he did not engage in meaningful

employment discussions with Company A until over a year later in May 2022 and well after

Company A obtained the contract at issue in the Indictment. Additionally, Movants will present

evidence at trial that they were unaware that the senior Naval official who joined Burke at their

July 21, 2021 lunch meeting was also Burke’s “companion.” In fact, Movants understood that she

was there to vet the propriety of Burke’s employment discussions with Movants. By contrast,

Burke was of course well aware of his personal relationship with the senior Naval official, and by

concealing this information from Movants may have misled them about her true purpose at the

lunch meeting, which Movants anticipate Burke would deny. As described further below, these

positions are in direct conflict. This is by no means the only evidence Movants will present of

Burke’s potential deception, but they are illustrative of why the Court should sever the trials.

I.     EVIDENCE CONCERNING COUNTS THREE, FOUR, AND FIVE WILL
       PREJUDICE MOVANTS

       Evidence tending to prove Burke’s commission of the crimes alleged in Counts Three,

Four, and Five would be inadmissible against the Movants were they tried separately from Burke,

rendering a joint trial prejudicial. These Counts relate to allegedly false statements that Burke

made to the Navy and other acts of concealment by Burke, Indictment ¶¶ 45-46, and evidence of

these allegations would invite the jury to improperly consider the evidence against Movants.

Where evidence of one defendant’s wrongdoing could “prevent the jury from making a reliable



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judgment about [another defendant]’s guilt or innocence,” Zafiro, 506 U.S. 534 at 539, severance

is warranted.

       In Zafiro, the Supreme Court recognized that a risk of prejudice “might occur when

evidence that the jury should not consider against a defendant and that would not be admissible if

a defendant were tried alone is admitted against a codefendant.” Id. The Supreme Court has

further recognized that severance “may be proper when defendants have ‘markedly different

degrees of culpability.’” Zafiro, 506 U.S. at 539; see also United States v. Lewis, Case No. 1:19-

cr-307-RCL, 2022 WL 1090612, at *3 (D.D.C. Apr. 11, 2022) (quoting Zafiro, 506 U.S. at 539).

That is, where there are “disparities in the ‘weight, quantity, or type’ of evidence against the

moving defendant and other co-defendants such that a jury could not ‘reasonably

compartmentalize the evidence introduced against each individual defendant,’” severance is proper.

Id. (quoting United States v. Halliman, 923 F.2d 873, 884 (D.C. Cir. 1991)).

A.     Burke Is Significantly More Culpable Than Movants And The Jury Will Be Invited
       To Use Evidence Of His Crimes Against Movants

       Burke is responsible for the majority of the conduct alleged in the Indictment, and for

Movants’ good-faith reliance on his assurances as to the propriety of their employment discussions.

Burke represented to Movants that he could act as their ambassador with the Navy. Regardless of

whether he was correct, he made this representation to Movants in the presence of                ,

another high-ranking DOD official, and Movants had no reason to disbelieve Burke, a four-star

Admiral. What is more, Burke failed to inform the Navy that he had begun having discussions

with Company A about potential employment as early as April 2021. But Movants are aware of

no evidence of their knowledge that Burke was required to make that disclosure, or that he failed

to do so at the right time. Indeed, Movants had no reason to think that Burke could not discuss

employment, considering he did so in front of DOD Official          in April 2021 and again at the



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lunch meeting in July 2021 when he was joined by a senior Naval official who, unbeknownst to

Movants, was also his “companion.”

       In fact, when considered from Movant’s perspective, the presence of the senior Naval

official at the lunch further underscores that they believed their actions were proper. It is

implausible that Movants would have knowingly discussed an unlawful scheme to bribe a high-

ranking Naval official in front of another senior Naval official whom they had never met and who

they were unaware was in a personal relationship with Burke. To be sure, the presence of the

senior Naval official, who ostensibly was appearing in her official capacity, indicated to the

Movants that they were making significant progress towards a legitimate and long-lasting business

relationship with the Navy. Only Burke would have been aware that she was his “companion” as

alleged in the Indictment and was present in her personal capacity and perhaps aware of his

motivations.

       And while Burke eventually represented to the Navy that employment discussions began

in May 2022, Indictment ¶ 46, (which is inconsistent with evidence available to the Movants that

they began as early as April 2021), that was after Movants obtained the contract at issue. The

Indictment alleges that Burke lied about the timing of the discussions in order to conceal the

bribery scheme. Indictment ¶¶ 26, 46. Although the government presumably will present evidence

at trial in support of its allegations against Burke, Movants know of no evidence that they were

aware prior to the award of the contract or during its performance either that (a) Burke was

prohibited from having employment discussions with them during the period charged in the

Indictment or (b) he misled the Navy about the timing of the employment discussions. Indeed, the

only evidence that Movants ever might have become aware of Burke’s alleged misconduct and

misrepresentations is Burke’s May 2022 disqualification letter. But the timing of the letter—over




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a year after Burke and Movants first discussed Burke’s potential employment, some 10 months

after the July 2021 lunch meeting where they discussed terms, and after Burke was in a position

to influence the Navy with respect to Company A—eviscerates any probative value it may have of

Movants’ knowledge at the time they were seeking the $355,000 contract and discussing

employment with Burke. Even if the Government could present evidence that Movants read and

understood the disqualification letter at the time they received it in May 2022 (after the bribery

scheme is alleged to have been completed), that knowledge, of course, cannot apply retroactively

to events that occurred in 2021 through January 2022.

         Movants were civilians who had no knowledge of applicable Navy rules and, thus, no

reason to question the representations of Burke, a four-star Admiral who held himself out as an

authority on the Navy’s rules and regulations. Movants also were not present for any of Burke’s

discussions with Navy personnel about the rules surrounding his potential future employment.

Indeed, Movants believed that everything they had done from their proposal to when they signed

the contract was proper, as evidenced by their routine and detailed updates to Company A

personnel and investors—none of whom is alleged to be a part of the charged conspiracy. Yet a

jury may nevertheless consider evidence of Burke’s alleged misconduct—his alleged relationship

with his “companion,” his knowledge and understanding of Navy conflict rules, and the

interactions he had with Navy personnel that Movants were not privy to—against Movants at a

joint trial.

         The allegations in the Indictment make clear that much of the most damning evidence that

will be introduced at trial will speak to Burke’s alleged misconduct, his knowledge of applicable

rules, his disclosure obligations, and his acts of concealment. The jury should not consider any of

that evidence against Movants. Burke not only is “distinctly [more] culpable,” United States v.




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Jett, 908 F.3d 252, 276 (7th Cir. 2018); see also United States v. Mardian, 546 F.2d 973, 977 (D.C.

Cir. 1976) (“Particularly where there is a great disparity in the weight of the evidence, strongly

establishing the guilt of some defendants, the danger persists that that guilt will improperly ‘rub

off’ on the others.”), but the admission of evidence proving his misconduct at a joint trial would

severely prejudice Movants because it would prevent the jury “from making a reliable judgment

about [Movants’] guilt or innocence.” Zafiro, 506 U.S. 534 at 539; see United States v. Gray, 292

F. Supp. 2d 71, 87 (D.D.C. 2003) (“[A] court should sever a joint trial where evidence against the

one defendant would be ‘far more damaging’ than the evidence against the other.”) (citing United

States v. Tarantino, 846 F.2d 1384, 1398 (D.C. Cir. 1988)). For these reasons alone, separate trials

are warranted.

B.     Jury Instructions Cannot Cure Prejudice To Movants

       Critically, the Court should prioritize “severance over curative jury instructions” in this

case. Gray, 173 F. Supp. 2d at 7 (citing Edelin, 118 F. Supp. 2d at 42); see also Donnelly v.

DeChristoforo, 416 U.S. 637, 644 (1974) (“[S]ome occurrences at trial may be too clearly

prejudicial for . . . a curative instruction to mitigate their effect.”). Jury instructions, no matter

how artfully drafted, cannot overcome the cumulative effect of listening to weighty, inculpatory

evidence of Burke’s criminal conduct specifically. Burke apparently disregarded Navy conflict

rules when he discussed joining Company A with Movants. Burke apparently misrepresented to

Navy personnel when those conversations began. And Burke apparently failed to disclose his

potential financial stake in Company A. That is precisely why Burke alone is charged in Counts

Three, Four, and Five.

       But the evidence proving Burke’s criminal conduct introduced at a joint trial is unlikely to

be considered by the jury against Burke alone. The Government will argue that Burke’s lies were

vital to the success of the alleged bribery scheme, specifically that they were necessary for Burke


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to engage in employment discussions and for Company A to obtain the contract; after all, had

Burke been truthful, the government will contend, presumably the Navy would have warned him

and Company A to refrain from employment discussions and/or would not have awarded Company

A, or even considered Company A for, the contract. At bottom, even an appropriately instructed

jury will find it difficult to consider the substantial evidence of Burke’s alleged misconduct in a

vacuum. In other words, a strong case against Burke will necessarily become a strong case against

Movants even absent comparable proof of Movants’ misconduct and despite the Movants’

reasonable reliance on Burke. See O’Rear v. Fruehauf Corp., 554 F.2d 1304, 1309 (5th Cir. 1977)

(“[T]he cleansing effect of the cautionary instructions in this case is dubious for, as the trial judge

himself observed during the trial, ‘you can throw a skunk into the jury box and instruct the jurors

not to smell it, but it doesn’t do any good.’”). Simply put, the “dramatic disparity of evidence,”

United States v. Slade, 627 F.2d 293, 309-10 (D.C. Cir. 1980), in this dispute calls for severance

over curative instruction.

II.    CONFLICT BETWEEN BURKE AND MOVANTS WILL PREJUDICE
       MOVANTS

       There is also a serious risk that a joint trial will prejudice Movants due to conflicts between

Movants’ and Burke’s defenses. Courts of appeals regularly recognize that such a risk warrants

severance. For example, in United States v. Gonzalez, the Eleventh Circuit stated that “‘[i]f the

jury, in order to believe the core of the testimony offered on behalf of that defendant, must

necessarily disbelieve the testimony offered on behalf of his co-defendant,’ severance is

compelled. In that situation, the co-defendants ‘become the government’s best witnesses against

each other.’” 804 F.2d 691, 695 (11 th Cir. 1986) (quoting United States v. Berkowitz, 662 F.2d

1127, 1134 (5th Cir. 1981)). Similarly, in United States v. Tootick, the Ninth Circuit explained that

“[t]he joinder of defendants advocating mutually exclusive defenses can have a prejudicial effect



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upon the jury, and hence the defendants, in a number of ways.” 952 F.2d 1078, 1082 (9th Cir.

1991). The court explained that:

       Defendants who accuse each other bring the effect of a second prosecutor into the
       case with respect to their codefendant. In order to zealously represent his client,
       each codefendant’s counsel must do everything possible to convict the other
       defendant. The existence of this extra prosecutor is particularly troublesome
       because the defense counsel are not always held to the limitations and standards
       imposed on the government prosecutor.

Id.; see also Lewis, 2022 WL 1090612, at *4 (“Mutual antagonism between defenses can also

prejudice a defendant when the co-defendant’s counsel ‘bec[omes] in effect a second prosecutor.’”

(quoting United States v. Wright, 783 F.2d 1091, 1096 (D.C. Cir. 1986)).

       At trial, Movants are likely to present evidence and argument that they are not guilty of

Counts One and Two because: (1) as civilians, it was reasonable for them to rely in good faith on

Burke’s representation that Company A was not a “defense contractor” and, accordingly, he could

act as their ambassador in connection with their relationship with the Navy; and (2) consistent with

their reasonable reliance on Burke’s assurances and actions, Movants had no reason to believe that

they were precluded from discussing with Burke potential future employment with Company A.

Burke was a four-star Admiral; the entire Navy relied on his integrity and compliance with

applicable rules. It hardly was unreasonable for Movants to do the same.

       In contrast, Burke may argue that: (1) he only started meaningful employment discussions

with Company A in May 2022 (and no earlier), which would be consistent with the materials he

provided to the Navy; and (2) Movants misrepresented the nature of their discussions with him in

2021 or simply misunderstood the nature of those early conversations. Burke may also argue that

he never represented to Movants that it was proper for Burke to act on Company A’s behalf

because Company A is not a (disqualifying) defense contractor.




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       In any case, believing Burke necessarily requires the jury to reject Movants’ defenses.

Either Burke began employment discussions with Company A in May 2022, as he represented to

the Navy, or he began them as early as April 2021 as Movants are likely to contend. Either way,

the jury will be presented with the spectacle of co-defendants taking wholly inconsistent positions

about a matter central to the allegations against them, namely whether and when employment

discussions commenced between Movants and Burke. See, e.g., Gray, 292 F. Supp. 2d at 87 (“A

court should also grant severance where the defendants allege mutually contradictory and

irreconcilable defenses.”) (citing Tarantino, 846 F.2d at 1398); United States v. Troiano, 426 F.

Supp. 2d 1129, 1135 (D. Haw. 2006); see also Gonzalez, 804 F.2d at 695 (“The jury, in order to

believe the testimony offered by Lopez . . . had to disbelieve Gonzalez[.]”).

       To the extent that Burke concedes that he (i) told Movants that he could act on their behalf,

and/or (ii) discussed working for Company A in 2021 because he believed his actions were

permissible, a joint trial would still prejudice Movants. Evidence to the contrary—that Burke was

familiar with Navy rules and, in fact, knew that his conduct was improper—is only admissible

against Burke and does not refute in any way Movants’ more limited argument that they reasonably

relied on Burke’s statements. For Movants, whether Burke lied to the Navy or was familiar with

Naval rules is of no moment.        What is important to Movants is that Burke made clear

representations to Movants upon which they relied. At a joint trial, however, the jury may reject

Movants’ reliance argument based entirely on evidence that Burke knew that his actions were

wrong. Thus, even defenses that on their face appear parallel are not when considered in light of

the evidence that will be offered to refute them. Evidence that speaks to Burke’s mental state may

prevent the jury “from making a reliable judgment about [Movants’] guilt or innocence.” Zafiro,

506 U.S. 534 at 539.




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        Movants’ defenses will further call into question Burke’s credibility.     Movants may

introduce evidence that Burke was dishonest with them regarding his ability to act on their behalf

and the circumstances surrounding his departure from Company A. In a joint trial, this would

create what the Ninth Circuit has described as a “perverse incentive[]” to retaliate. Tootick, 952

F.2d at 1082. In response, Burke may seek to introduce evidence aimed not at proving his

innocence, but instead aimed at proving Movants’ culpability or simply disproving specific

arguments made in support of Movants’ defense. For example, Burke might attempt to prove that

Movants knew that Naval conflict rules precluded Burke from speaking with them—a fact that has

no bearing on Burke’s guilt or innocence, but instead speaks directly to Movants’

credibility/culpability. Similarly, Burke might also attempt to impeach Movants’ witnesses, to the

extent their testimony inculpates Burke.

        This course of events would pit defendants against one another and detract from the truth-

seeking process. Courts have accordingly recognized that “[h]aving [one defendant] be [the

other’s] most forceful adversary could significantly reduce the burden of proof on the

Government,” United States v. Monge, 2011 WL 13176072, at *2 (D. Ariz. July 14, 2011), despite

defendants’ right to a fair trial.




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                                           CONCLUSION

       For the foregoing reasons, Movants respectfully request that the Court grant their joint

motion and sever their trial from the trial of Robert Burke.



Respectfully submitted,

DATED July 19, 2024                       /s/ William A. Burck
                                         William A. Burck

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                               CERTIFICATE OF SERVICE

        I hereby certify that on this date, a copy of the foregoing Memorandum of Law was
electronically filed with the Clerk of the U.S. District Court for the District of Columbia via
CM/ECF and served to all counsel of record via electronic mail.


                                                    /s/ William A. Burck
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Dated: July 19, 2024




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